Case 4:07-cv-05944-JST Document 6029-1 Filed 07/01/22 Page 1 of 3




           DECLARATION OF JOSEPH M. FISHER




                          EXHIBIT A
              Case 4:07-cv-05944-JST Document 6029-1 Filed 07/01/22 Page 2 of 3
                                      CRT EXCLUSIONS

                                                                                     Excluded from    Excluded    Excluded from
Exclusion
                                              Complete Description                     Chunghwa       from LG          2015
    #
                    Name                                                              Settlement     Settlement    Settlements
   1        Robert Robinson                                                                                             Yes
   2        Bonnie Bryant                                                                                               Yes
   3        Michael Katz                                                                                                Yes
                                  Alfred H. Siegel, as Trustee of the Circuit City
                                  Stores, Inc. Liquidating Trust, on behalf of
            Circuit City Stores                                                           Yes
                                  itself and Circuit City Stores, Inc. and its
   4                              affiliated debtors

                                  Old Comp Inc. and each of its parents,
                                  predecessors, successors, subsidiaries,
                                  agents, affiliates, partners, acquisitions,
                                  assignors, divisions, departments, and
                                  offices, including, but not limited to,
                                  -Old Comp Inc. (formerly known as
                                  CompUSA Inc.)
                                  -CompUSA GP Holdings Company
                                  -CompUSA Holdings Company
                                  -CompUSA Stores L.P.
            Old Comp              -CompUSA Management Company                             Yes
                                  -CompTeam Inc.
                                  -Cozone.com Inc.
                                  -BeOn Inc. (formerly known as CompUSA
                                  PC Inc.)
                                  -BeOn Operating Company (formerly known
                                  as CompUSA PC Operating Company)
                                  -Computer City Inc.
                                  -Good Guys Inc.
                                  -Good Guys California, Inc.
                                  -Goodguys.com Inc.
   5
            PBE Consumer          PBE Consumer Electronics, LLC and related
                                                                                          Yes
   6        Electronics           entities
                                  Douglas A. Kelley, as Chapter 11 Trustee for
                                  Petters Company, Inc. and related entities
            Petters Company                                                               Yes
                                  and as Receiver for Petters Company, LLC
   7                              and related entities
                                  RadioShack Corporation and each of its
                                  parents, predecessors, successors,
                                  subsidiaries, agents, affiliates, partners,
            Radioshack                                                                    Yes
                                  acquisitions, assignors, divisions,
                                  departments, and offices, including, but not
   8                              limited to, RadioShack Corporation




                                                             1 of 2
       Case 4:07-cv-05944-JST Document 6029-1 Filed 07/01/22 Page 3 of 3
                               CRT EXCLUSIONS

                       Sears, Roebuck and Co. and Kmart
                       Corporation and each of its parents,
                       predecessors, successors, subsidiaries,
                       agents, affiliates, partners, acquisitions,
                       assignors, divisions, departments, and
                       offices, including, but not limited to,
     Sears                                                            Yes         Yes
                       -Sears, Roebuck and Co.
                       -Sears Holding Corporation
                       -Sears Holdings Management Corporation
                       -Kmart Corporation
                       -Kmart Management Corporation
9                      -Kmart Holdings Corporation
                       Target Corporation and each of its parents,
                       predecessors, successors, subsidiaries,
                       agents, affiliates, partners, acquisitions,
     Target                                                           Yes
                       assignors, divisions, departments, and
                       offices, including,
10                     but not limited to, Target Corporation
                       ViewSonic Corporation and each of its
                       parents, predecessors, successors,
                       subsidiaries, agents, affiliates, partners,
                       acquisitions, assignors, divisions,
                       departments, and offices, including,
     ViewSonic                                                        Yes
                       but not limited to,
                       -Viewsonic Corporation
                       -ViewSonic International Corporation
                       -Viewsonic Display Limited
11                     -Viewsonic Hong Kong Limited
                       Wal-Mart Stores, Inc. and its subsidiaries
                       and affiliates, including but not limited to
                       Wal-Mart Stores East, LP; Wal-Mart Stores
                       Texas, LLC; Wal-Mart Louisiana, LLC; Wal-
     Wal-Mart          Mart Stores Arkansas, LLC; and                 Yes
                       Walmart.com USA, LLC (collectively
                       operating as Walmart); and Sam's West,
                       Inc. and Sam's East, Inc. (collectively
12                     operating as Sam's Club)
13   Rhodrick Harden   Rhodrick Harden from Columbus, Ohio            Yes
     McDonald's
14   Corporation                                                            Yes




                                                 2 of 2
